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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

EvANvaLLE DrvrsIoN
UNITED srArEs oF AMERICA, )
)
Plaintiff, )
)
v. ) Cause NO. 3;18-¢r_§lRLY-MPB-01
' )
MICHAEL W. WILLIAMS, )
)
Defendant. )
K\»
/
Q</O @k {% INDICTMENT
44/‘ Q ~?Y, _
d‘k/<§\p gp Count 1
((<<\45 69

' g¢<,`<>, [Title 18, United States Code, Sections 2252(a)(4)(B) and 2252(b)(2),
(‘7¢;6` Possession of SeXually Explicit Material Involving Minors]

The Grand Jury charges that:
On or about January 26, 2018, in the Southem District of Indiana, and elsewhere,
MICHAEL W. WILLIAMS,

the defendant herein, knowingly possessed, attempted to possess, and accessed With the intent to
view one or more books, magazines, periodicals, films, video tapes, and other matter Which
contained visual depictions that had been mailed, shipped and transported using any means and
facility of interstate and foreign commerce, shipped and transported in and affecting interstate
and foreign commerce, and Which Were produced using materials Which had been mailed and
shipped and transported using any means and facility of interstate and foreign commerce, by any
means, including by computer, and the producing of such visual depictions involved the use of
minors engaging in sexually explicit conduct and such visual depictions Were of such conduct, to

Wit: l\/HCHAEL W. WILLIAMS knowingly possessed, attempted to possess, and accessed vvith

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the intent to view images, including the images with the partial file names listed below, depicting
actual minors engaging in sexually explicit conduct, as defined in Title 18, United States Code,
Section 2256(2), including one or more visual depictions involving a prepubescent minor or a
minor under twelve years of age, that WILLIAMS acquired through a connection to the internet

using an Apple iPad bearing partial serial number PDHLJL manufactured outside of Indiana.

 

 

 

 

 

 

 

 

 

 

 

FILE NAME
A ()Ol 5.jpeg
B 0016.jpeg
C OOl7.jpeg
D 0029.jpeg
E 0033.jpeg
F 003 9.jpeg
G 0043.jpeg
H 0054.jpeg
l 0073.jpeg
J 0077.jpeg

 

 

 

 

All of which is in violation of Title 18, United States Code, Sections 2252(a)(4)(]3) and

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2252(b)(2).
Count 2

[Title 18, United States Code, Sections 2252(a)(4)(B) and 2252(b)(2),
Possession of Sexually Explicit l\/Iaterial Involving Minors]

The Grand Jury further charges that:
On or about January 9, 2018, in the Southern District of Indiana, and elsewhere,
MICHAEL W. WILLIAMS,

the defendant herein, knowingly possessed, attempted to possess, and accessed with the intent to
view one or more books, magazines, periodicals, films, video tapes, and other matter which
contained visual depictions that had been mailed, shipped and transported using any means and
facility of interstate and foreign commerce, shipped and transported in and affecting interstate
and foreign commerce, and which were produced using materials which had been mailed and
shipped and transported using any means and facility of interstate and foreign commerce, by any
means, including by computer, and the producing of such visual depictions involved the use of
minors engaging in sexually explicit conduct and such visual depictions were of such conduct, to
wit: MICHAEL W. WILLlAl\/IS knowingly possessed, attempted to possess, and accessed with
the intent to view images depicting actual minors engaging in sexually explicit conduct, as
defined in Title 18, United States Code, Section 2256(2), including one or more visual depictions
involving a prepubescent minor or a minor under twelve years of age, that WILLIAl\/IS acquired
through a connection to the internet using an Apple iPhone 7 bearing partial serial number
W2HG7K and an Apple iPad bearing partial serial number PDHLJL manufactured outside of
lndiana.

All of which is in violation of Title 18, United States Code, Sections 2252(a)(4)(B) and

2252(b)(2).

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FORFEITURE ALLEGATION

l. The allegations in this Indictment are re~alleged as if fully set forth here,
for the purpose of alleging forfeiture, pursuant to Title 18, United States Code, Section 2253.
Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby notifies the
defendant(s) that it will seek forfeiture of property, criminally and/or civilly, pursuant to
_ Title 18, United States Code, Sections 2253 and 2254 as part of any sentence imposed

2. Pursuant to Title 18, United States Code, Section 2252, if convicted of an offense

set forth in this lndictment, the defendant shall forfeit to the United States;

A. any visual depictions described in Title 18, United States Code, Sections
2251, 225 lA, or 2252, 2252A, 2252B, or 2260, and any book, magazine, periodical, film,
videotape, or other matter which contains any such visual depictions, which were produced,
transported, mailed, shipped, or received in violation of Title 18, United States Code, Chapter
l 10;

B. any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from such offenses of which the defendant is convicted, or a sum of
money equal to the total amount of traceable gross profits (money judgment); and

C. any property, real or personal, used or intended to be used to commit or to
promote the commission of such offenses of which the defendant is convicted, or any property
traceable to such property.

3. The/ property subject to forfeiture includes, but is not necessarily limited to:

A. One Apple iPhone 7 bearing partial serial number W2HG7K;

B. One silver Apple iPad bearing partial serial number PDHLJL;

C. One red and black Apple iPad bearing partial serial number Y4Fl 83;

[4]

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D. All component parts of the described devices.
4. The United States shall be entitled to forfeiture of substitute property pursuant to
Title 2l, United States Code, Section 853(p), and as incorporated by Title 18, United States
Code, Section 2253(b), if any of the property described above in paragraph 3, as a result of any
act or omission of the defendant(s):

A. cannot be located upon the exercise of due diligence;

B. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the court;
D. has been substantially diminished in value; or
E. has been commingled with other property, which cannot be divided
without difficulty
5. ln addition, the United States may seek civil forfeiture of the property described

above in paragraph 3 pursuant to Title 18, United States Code, Section 2254.

A TRUE BILL:

 

JOSH J. MINKLER
United States Attorney

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Todd S'. Shellenbar§er /}'
Assistant United States Attorney

 
 

